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                                                                         United States District Court
                                                                           Southern District of Texas

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                                                                              June 14, 2016
                                                                           David J. Bradley, Clerk
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